                                         PIERCE LAW GROUP
                                      KNOWLEDGE AND PROFESSIONALISM AT LAW

 J.W. PIERCE, ESQ.                             9121 ANSON WAY STE. 200               TELEPHONE: (919) 584—5556
                                                   RALEIGH, NC 27615                  FACSIMILE: (919) 887—7267
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                                                   June 8, 2018

PERSONAL & CONFIDENTIAL
VIA US MAIL

Clerk of Superior Court
Alamance County Courthouse
212 W. Elm Street
Graham, NC 27253

         Re:            Samuel Shaw v. Elon University

Dear Clerk of Superior Court:

         Enclosed please ﬁnd the following documents:

                     Check #1050 for $200 for Superior Court Filing Fee;
         .U'PP’Nt‘




                     Civil Action Cover Sheet (2 copies);
                     Summons (2 copies);
                     Complaint (2 copies); and
                     Postage-paid envelope

         I respectfully request that you ﬁle Mr. Shaw’s Complaint and return a ﬁle-stamped copy
to me in the enclosed envelope.

        If you have any questions or concern or need anything additional to facilitate this request,
please do not hesitate to contact me directly at (919) 584-5547.

Sincerely,


‘RWW
Laura Beth Waller
Attorney and Counselor at Law

Enclosures (5)

cc:     Elon University
        Comic Ledoux Book, Registered Agent
        100 Campus Drive
        Elon, NC 27244




                                                                                           EXHIBIT 11

        Case 1:18-cv-00557-WO-JEP Document 2 Filed 06/26/18 Page 1 of 15
                                                                                                                                                       > File No
           STATE OFNORTH CAROLINA
                                       Alamance                        County                                                                                     In The General Court Of Justice
                                                                                                                                                           I] District          Superior Court Division
  Name And Address or Plaintiff 1
    Samuel Shaw
    1476 Durhamtown Road
                                                                                                                                                              GENERAL
    Brimfield, MA 01010                                                                                                                     CIVIL ACTION COVER SHEET
                                                                                                                                          INITIAL FILING |:| SUBSEQUENT FILING
  Name And Address Of Plaintiff 2
                                                                                                                                     Rule 5(b), General Rules of Practice For Superior and District Courts
                                                                                                           Name And Address or Attorney Or Party, if Not Represented {complete fer rnrtiai
                                                                                                           appearance or change of address)

                                                                                                            Laura Beth Waller
                                                                                                            Pierce Law Group, PLLC
                                                         VERSUS                                            9121 Anson Way, Ste 200
  Name Of Defendant 1
                                                                                                            Raleigh                                                                         NC    27615
  Elon University
                                                                                                           Telephone No                                                  Cerinrar Telephone No.
  Connie Ledoux Book, Registered Agent                                                                                                   919—584-5556
  100 Campus Drive                                                                                         NC Attorney Bar No                              Attorney E-Mall Address
  Elon, NC 27244                                                                                           41677                                           1bwa11er@ niel'culziw .com
 Summons Subml'tte d                            Yes I: No
                                                                                                                                    Initial Appearance in Case                       I 1:1 Change of Address
  Name Of Defendant 2                                                                                     Name or Firm
                                                                                                          Pierce Law (Emup. PLLC
                                                                                                          FAX No.
                                                                                                                                                                9 I 9887-7267
                                                                                                          Counsel for

Summons Submitted                                                                                                                All Plaintiffs   C] All Defendants 1:] Only (listparty(ies) represented)
                                                Yes [:1 No

                       Jury Demanded In Pleading                                                           1:] Amount in controversy does not exceed $15,000
  E] Complex Litigation                                                                                    [:I Stipulate to arbitration
                                                                                        TYPEOFPLEAmNG                                                      L_
                       (check all that apply)                                                                                     (check all that apply)
                       Amend (AMND)                                                                                               Failure To State A Claim (FASC)
DDDDDDDDDDDDDKDDDDDD




                                                                                                          DDDDDDDDEDDDDDDDKDDD




                       Amended Answer/Reply (AMND-Response)                                                                       Implementation Of Wage Withholding In Non-IV-D Cases (OTHR)
                       Amended Complaint (AMND)                                                                                   Improper Venue/Division (IMVN)
                       Assess Costs (COST)                                                                                        Including Attorney‘s Fees (ATTY)
                       Answer/Reply (ANSW—Response) (see Note)                                                                   Intervene (INTR)
                       Change Venue (CHVN)                                                                                       Interplead (OTHR)
                       Complaint (COMP)                                                                                          Lack OfJurisdiction (Person) (LJPN)
                       Confession Of Judgment (CNJF)                                                                             Lack OfJurisdiction (Subject Matter) (LJSM)
                       Consent Order (CONS)                                                                                      Modification Of Child Support In IV-D Actions (MSUP)
                       Consolidate (CNSL)                                                                                        Notice Of Dismissal With Or Without Prejudice (VOLD)
                       Contempt (CNTP)                                                                                           Petition To Sue As Indigent (OTHR)
                       Continue (CNTN)                                                                                           Rule 12 Motion In Lieu Of Answer (MDLA)
                       Compel (CMPL)                                                                                             Sanctions (SANC)
                       Counterclaim (CTCL) Assess Court Costs                                                                    Set Aside (OTHR)
                       Crossclaim (list on back) (CRSS) Assess Court Costs                                                       Show Cause (SHOW)
                       Dismiss (DISM) Assess Court Costs                                                                         Transfer (TRFR)
                       Exempt/Waive Mediation (EXMD)                                                                             Third Party Complaint (list Third Party Defendants on back) (TPCL)
                       Extend Statute Of Limitations, Rule 9 (ESOL)                                                              Vacate/Modify Judgment (VCMD)
                       Extend Time For Complaint (EXCO)                                                                          Withdraw As Counsel (WDCN)
                       Failure To Join Necessary Party (FJNP)                                                                    Other (specify and list each separately)




NOTE: All filings in civil actions shall include as the first page of the filing a cover sheet summarizing the critical elements of the ﬁling in a format prescribed by the Administrative
      Office of the Courts, and the Clerk of Superior Court shall require a party to refile a filing which does not include the required cover sheet. For subsequent ﬁlings in civil
                          actions, the filing party must either include a General Civil (AOC-CV-751), Motion (AOC-CV-752), or Court Action (AOC—CV—753) cover sheet.

     AOC-CV-751, Rev. 1/14                                                                           (Over)
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                                       Case 1:18-cv-00557-WO-JEP Document 2 Filed 06/26/18 Page 2 of 15
                                                 I             CLAIMS FOR RELIEF                           l
  |:| Administrative Appeal (ADMA)                   |:| Limited Driving Privilege - Out-Of—State              CI Product Liability (PROD)
  D Appointment Of Receiver (APRC)                         Convictions (PLDP)                                  El Real Property (RLPR)
     AltachmenttGarnishment (ATI‘C)                  '3 Medical Malpractice (MDML)                             El Specific Performance (SPPR)
  I] Ctaim And Detivery (CLMD)                       D Minor Settlement (MSTL)                                 El Other (specify and ﬁst each separately)
  El Collection On Account (ACCT)                    [:1 Money Owed (MNYO)
     Condemnation (CNDM)                                 Negligence - Motor Vehicle (MVNG)
        Contract (CNTR)                              Cl Negligence - Other (NEGO)
 El Discovery Scheduling Order (DSCH)                D Motor Vehicle Lien G.S. 44A (MVLN)
    Injunction (INJU)                                El Possession Of Personal Property (POPP)

 Date                                                                         Signature (”Attorney/Party


  F     I          -    APPL
  Assert Right Of Access (ARAS)
  Substitution Of Trustee (Judicial Foreclosure) (RSOT)
  Supplemental Procedures (SUPR)

  PRO HAC VICE FEES APPLY
  Motion For Out-Of—State Attorney To Appear In NC Courts In A Civil Or Criminal Matter (Out-Of—State Attorney/Pro Hac
  Vice Fee)

 N0. El Additional Plaintiff(s)




 No.      CI Additional Defendant(s)             El Third Party Defendant(s)                                                                    Summons
                                                                                                                                                Submitted

                                                                                                                                               DYes E] No

                                                                                                                                               I:IYes D No

                                                                                                                                               |:|Yes [:I No

                                                                                                                                               |:|Yes D No

                                                                                                                                               [:IYes D No
Plaintifﬂs) Against Whom Counterclaim Asserted




Defendant(s) Against Whom Crossctai'm Asserted




 AOC-CV—751, Side Two, Rev. 1/14
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                                                                                                                   File No.
  STATE OF NORTH CAROLINA                                                                                      ’

                     Alamance                     County                                                               In The General Court Of Justice
                                                                                                                  El District        [2] Superior Court Division
 Name Of Plaintiff
  Samuel Shaw
Address
  1476 Durhamtown Road                                                                                         CIVIL SUMMONS
CW We Zip                                                                                            El ALIAS AND PLURIES SUMMONS
 Brimfield                                                  MA             01010
                                      VERSUS                                                                                                      G.S. 1A-1, Rules 3, 4
Name Of Defendant(s)                                                                    Date Original Summons Issued
  Elon University
                                                                                       Date(s) Subsequent Summons(es) Issued




  To Each Of The Detendant(s) Named Below:
Name Anni Address Of Defendant i                                                       Name And Address or Defendant}?
 Elon University
Connie Ledoux Book, Registered Agent
 100 Campus Drive
Elon                                                        NC 27244

 A Civil Action Has Been Commenced Against You!

 You are notified to appear and answer the complaint of the plaintiff as follows:

  1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff‘s attorney within thirty (30) days after
     you have been served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs
      last known address, and

  2. File the original of the written answer with the Clerk of Superior Court of the county named above.

 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Oi Plaintiff's Attorney (If None, Address 0f Plaintifti               Date Issued                            Time
Laura Beth Waller                                                                                                                                  [:1 AM    El PM
Pierce Law Group, PLLC                                                                 Signature
9121 Anson Way, Ste 200
Raleigh                                                     NC 27615                        D Deputy 080       El Assistant 080          D Clerk Of Superior Court



                                                                                       Date Of Endorsement                Time
  D ENDORSEMENT                                                                                                                                    EIAM CIPM
       This Summons was originally issued on the date
                                                                                       Signature
       indicated above and returned not served. At the request
       of the plaintiff, the time within which this Summons must
       be served is extended sixty (60) days.                                               [3 Deputy 080      D Assistant 080           D Clerk Of Superior Court




 NOTE TO PARTIES: Many counties have MANDA TOFtY AFIBITRA TION programs in which most cases where the amount in controversy is $15,000 or
                  less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                             so, what procedure is to be followed.


AOC-CV-100. Rev. 10/01                                                             (Over)

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                                                            I             RETURN OF SERVICE                                 I
    I certify that this Summons and a copy of the complaint were received and served as follows:
                                                                               DEFENDANT 1
 Date Served                                   Time Served                                 Name Of Defendant
                                                                  DAM DPM

    E]    By delivering to the defendant named above a copy of the summons and complaint.

    III   By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
          above with a person of suitable age and discretion then residing therein.

          As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
          person named below.
          Name And Address Of Person With Whom Copies Left {if corporation, give title of person copies fair with)




    El Other manner of service (specify)



    E] Defendant WAS NOT served for the following reason:



                                                                               DEFEN DANT 2
Date Served                                   Time Served                                  Name Of Defendant
                                                                  El AM      El PM

          By delivering to the defendant named above a copy of the summons and complaint.

          By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named
          above with a person of suitable age and discretion then residing therein.

          As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the
          person named below.
          Name And Address Of Person With Whom Copies Left fffcorporation. give title of person copies left with)




    El Other manner of service (specify)



    [:1 Defendant WAS NOT served for the following reason.



Service Fee Paid                                                                          Signature 0f Deputy Sheriff Making Return
$
Date Received                                                                             Name Of Sheriff (Type Or Print)


Date Of'ﬁefum                         "                 _                                 County Of Sheriff




AOC-CV—100, Side Two, Rev. 10/01
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 STATE OF NORTH CAROLINA                             IN THE GENERAL COURT OF JUSTICE

                                                         SUPERIOR COURT DIVISION
 COUNTY OF ALAMANCE                                                     18 CVS



 SAMUEL SHAW,                                    )
                                                 )
                       Plaintiff,                )
                                                 )                       COMPLAINT
        V.                                       )
                                                 )              JURY TRIAL DEMANDED
ELON UNIVERSITY,                                 )
                                                 )
                       Defendant.                )
                                                 )

      NOW COMES Plaintiff, Samuel Shaw, by and through counsel, complaining of
Defendant Elon University and alleges and says:

                                    JURISDICTION AND VENUE

        Shaw is a citizen and resident of the State of Massachusetts.

      . Defendant Elon University is a non-proﬁt corporation which conducts business in the
        State of North Carolina with its principal place of business in Elon. At all times relevant
        to this Complaint, Elon University did business and maintained a university in North
        Carolina.

      . This Court has subject matter jurisdiction pursuant to NC. Gen. Stat. §§ 7A-240, 7A-243
        because the damages alleged herein are within the jurisdictional limits of this Court.

      . This Court has personal jurisdiction over Defendant pursuant to NC. Gen. Stat. §§ 1-
        75.4( 1), 1-75.4(3), and/or 1-75.4(5) because Elon University conducted business and
        continues to conduct business and has breached a contract in North Carolina.

      . Venue is proper pursuant to NC. Gen. Stat. § l—79(a) because Defendant Elon University
        is a domestic corporation and its registered agent and principal place of business is in
        Alamance County.

///

///




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                              FACTUAL ALLEGATIONS

    Shaw was a student at Elon University.

   Elon University published a Student Handbook and Code of Conduct that outlines its
   policies and procedures relating to student conduct matters.

    Section 5 of the Student Code of Conduct states that procedures and rights in the student
    conduct process are conducted with fairness to all.

    Section 6 of the Code of Conduct outlines the Formal Conduct Procedures Elon
   University.

   Subsection A states that Elon University’s response to a potential code of conduct
   violation should be handled “expeditiously and thoroughly.” Consideration will be given
   to all available and credible information relevant to the case. This is to ensure that a fair
   process and appropriate consideration are extended to all students.

   The policy states that not all situations are of the same severity or complexity...these
   procedures are ﬂexible, and are not exactly the same in every situation, though
   consistency in similar situations is a priority.

   Subsection E explains the three-step process for student conduct violations, which
   includes a (1) preliminary inquiry; (2) a student conduct conference; and (3) a formal
   hearing.

   On October 20, 2017, Shaw attended a sorority formal event.

   Shaw did not consume alcohol on that evening. Shaw left the event by bus and was
   picked up from the bus drop off by Mr. Nick Marano, who was a designated driver for
   the evening.

10. Mr. Marano was called by phone by Mr. Nate Joslin, Shaw’s friend, to request a ride for
    an unidentiﬁed individual who was extremely intoxicated, belligerent, and had allegedly
    assaulted two female students.

11. Upon information and belief, the unidentiﬁed individual had choked one female student
    by pushing her against a building and had hit in the face and kicked in the stomach a
    second female student.

12. Shaw, Mr. Marano, and Mr. Andrew Dewdney drove to Mr. Joslin’s location to pick him
    up. Upon arriving, Shaw observed the unidentiﬁed individual unprovokedly punch Mr.
    Joslin in the face with a closed ﬁst while Mr. Joslin was not looking.

13. Mr. Joslin immediately dropped to the ground and began bleeding from the face.




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 14. Shaw exited Mr. Marano’s vehicle and tacked the unidentiﬁed individual and struck him,
    believing that he was an imminent threat the Mr. Joslin and the two other female students
    that he had already allegedly assaulted.

 15. Shaw recognized the unidentiﬁed individual as Mr. Spencer Schar.

 16. Mr. Schar is the son of a large ﬁnancial donor to Elon University.            The newly
    constructed Schar Center, a 5,100 seat arena, was named in the family’s honor.

 17. Mr. Schar was assisted in to Mr. Marano’s vehicle and driven to his home, despite his
     unprovoked attack.

18. Upon information and belief, this matter was investigated by the Elon Police Department
    which determined that Shaw had acted in self-defense.

19. The Elon University Social Code of Conduct violation investigations begin with a
    preliminary inquiry. This inquiry includes conducting a preliminary investigation and
    identifying a list of policies that may have been violated.

20. The preliminary inquiry “typically take[s] one to seven business days to complete.” At
    the conclusion of the preliminary inquiry, a determination may be made to moved
    forward with the “formal process by identifying possible code of conduct violations and
    sending notiﬁcations. . .to meet for a student conduct conference.”

21. On October 30, 2017, Mr. Randall Williams, Director of Student Conduct at Elon
    University, interviewed Mr. Schar, along with his mother, Ms. Martha Schar.

22. During that interview, Mr. Schar did not give any description of Shaw or his involvement
    in the events of October 20, 2017.

23. During that interview, Mr. Schar indicated that he was involved in another physical
    confrontation later that same night in his apartment.

24. Upon information and belief, Mr. Williams, began a preliminary investigation on or
    about October 30, 2017.

25. On or about November 6, 2017, Mr. Schar learned Shaw’s identify and provided it to Mr.
   Williams via email.

26. On November 28, 2017, Shaw was notiﬁed that Mr. Williams had set a student conduct
   conference.

27. The purpose of the student conduct conference is to “review the potential charges and
    sanctions” and to give the student an “opportunity to respond to the potential charges and
    provide information necessary to determine if and What policy violations may have
    occurred.” The potential outcomes of this conference include “[p]ostponing and setting
    charges and conducting a hearing until additional information has been gathered;




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    [s]etting charges and engaging in a more comprehensive investigation before scheduling
    a hearing; [or] [s]etting charges and scheduling an administrative hearing...”

28. On December 4, 2017, Mr. Williams held a student conduct conference.

29. During the student conduct conference, Shaw provided a statement of the events of
    October 20, 2017.

30. On December 7, 2017, Mr. Williams interviewed Mr. Dewdney and Mr. Marano, who
    provided statements of the events of October 20, 2017, including, at a minimum,
    information about the knowledge and involvement of Mr. Joslin and the two female
    students who were allegedly assaulted by Mr. Schar.

31. On December 7, 2017, Shaw was notiﬁed that a student conduct hearing had been set.

32. According to the Student Handbook, formal hearings are typically held within 30 days of
    an incident. During a formal student conduct hearing, the hearing ofﬁcer asks questions
    regarding the incident and the responding student’s behavior related to the charges and
    considers all credible information. If necessary, the hearing ofﬁcer may postpone the
    conclusion of the hearing for a reasonable amount of time in order to conduct additional
    investigation or gather more information/ evidence. The hearing will conclude with the
    rendering of a “Responsible” or “Not Responsible” decision for each potential violation
    based on the preponderance of the evidence and appropriate sanctions will be assigned if
    warranted. In instances where the recommended sanction may be disciplinary suspension
    or permanent separation, the hearing ofﬁcer will consult with the dean of students prior
    to rendering a ﬁnal decision.

33. On December 14, 2017, Mr. Williams held a student conduct hearing at 11:00 am via
    telephone, 55 days from the date of the incident.

34. Mr. Williams completed a “case resolution form” and it was entered at 11:17:29 am
    indicating that Shaw was responsible for ﬁghting or acts of aggression and disorderly
    conduct.

35. Shaw was notiﬁed on December 14, 2017 that he was responsible for ﬁghting or acts of
   physical aggression and for disorderly conduct.         Shaw was issued a disciplinary
   suspension for one calendar year on the basis of the “severe injuries” to Mr. Schar.

36. On December 21, 2017, Shaw timely appealed his disciplinary suspension to the Elon
    University Appeal Board. The Appeal Board upheld the disciplinary suspension.

37. Inspection and review of Shaw’s conduct ﬁle showed that there was no evidence about
    the alleged severity of Mr. Schar’s injuries, no statement from Mr. Schar about the
    incident, and no statements from the three other material witnesses.

38 . Upon information and belief, Mr. Schar received a lesser disciplinary suspension.




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                               FIRST CAUSE OF ACTION
                                  (Breach of Contract)

39. Shaw realleges paragraphs 1 through 38 as if fully set forth herein.

40. The essential elements of a breach of contract claim are (1) a valid contract; (2) a breach;
    (3) proximate cause; and (4) damage. McLamb v. T.P., Inc., 173 NC. App. 161, 166,
    619 S.E.2d 577, 580 (2005), disc. rev. denied, 360 NC. 290 (2006).

41. “The basic legal relation between a student and a private university or college is
    contractual in nature.”    Ryan v. Univ. of NC. Hosps., 128 NC. App. 300, 302, 494
    S.E.2d 789, 791 (1998)).

42. “To assert a legally enforceable contract against a university, the student must point to an
    identiﬁable contractual promise that the University failed to honor.” Herrera, et. al., v.
    Charlotte School ofLaw, LLC, 2018 WL 1902556, at *9 (internal quotations omitted).

43. A breach of contract action will survive when the student’s claim includes “identiﬁable
    contractual promises that the University failed to honor... and the court can make an
    objective assessment of whether the institution made a good faith effort to perform on its
    promise without inquiring in to the nuances of educational processes.” Id. (citing Ryan,
    128 NC. App. at 302, 494 S.E.2d at 791) (internal quotations omitted); see also
    McFadyen v. Duke Univ., 786 F.Supp.2d 887, 983 (M.D.N.C. Mar. 31, 2001) (allowing a
    breach of contract claim to proceed on Shaw’s allegation that Duke failed to follow
    procedures for imposing discipline under its Code of Conduct).

44. In   consideration of the fees and expenses paid by Shaw, Elon University made speciﬁc
   promises that it published in its Student Code of Conduct, including, but not limited to,
   those speciﬁcally discussed in paragraphs 3, 4, 5, 6, 7, 16, 17, 23, 28. These promises
   include that Elon University will conduct all student conduct process are conducted with
   fairness to all, that potential code of conduct violations will be handled expeditiously and
   thoroughly, that consideration will be given to all available and credible evidence
   relevant to the case, that appropriate consideration will be extended to all students, and
   that consistency in similar situations is a priority.

45. Elon University breached its contractual promises by failing to follow its procedures as
    applied to Shaw, including following the timeline that it established for investigating and
    adjudicating student conduct matters, considering all relevant and credible evidence,
    applying its procedures consistently, and adhering to its tenant of “fairness to all.”

46. Elon University breached its contractual promises to Shaw by failing to make a decision
    based on a preponderance of the evidence.


47. Instead of fulﬁlling its contractual obligations, upon information and belief, Elon
    University issued a lesser disciplinary suspension to the son of a large ﬁnancial donor
    who had assaulted three students, including two females.




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48. Shaw suffered damages as a result of Elon University’s breach of contract in an amount
    to be determined by the trier of fact.

49. Shaw had completed only three semesters of education at Elon University and is
    therefore not entitled to a degree with this amount of education. Thus, he has lost the
    funds spent on his education to date.

50. Shaw had to move back to Massachusetts upon his disciplinary suspension and incurred
    costs associated with moving.

51. Shaw suffered damage to his reputation as a result of his disciplinary suspension.

52. Shaw has ongoing difﬁculty with admissions to other colleges and universities as a result
    of his disciplinary suspension.

53. No matter the outcome of this case, Shaw will forever have to explain the gap in his
    educational record to future employers.

54. But for Elon University’s breach of contract, Shaw would not have suffered damages.


                              SECOND CAUSE OF ACTION
                                 (Motion for Injunction)

55. A preliminary injunction may be issued during litigation when “it appears by afﬁdaVit
    that a party thereto is doing or threatens or is about to do... some act... in violation of the
    rights of another party to the litigation respecting the subjects of the action, tending to
    render judgment ineffectual.” NC. Gen. Stat. § l-485(2).

56. A preliminary injunction is an extraordinary measure that “will not be lightly granted.”
    Travenol Labs, Inc. v. Turner, 30 NC. App. 686, 692, 228 S.E.2d 478, 483 (1976)
    (citation omitted).

57. The moving party bears the burden on establishing a right to a preliminary injunction.
    Pruitt v. Williams, 288 NC. 368, 372, 218 S.E.2d 348, 351 (1975).

58. The moving party must show “a likelihood of success on the merits of his case and...
    [that the movant] is likely to sustain irreparable loss unless the injunction is issued, or if,
    in the opinion of the Court issuance is necessary for the protection of his rights during
   the course of litigation.” Analog Devices, Inc. v. Michalski, 157 NC. App. 462, 466,
   579 S.E.2d 499, 452, 144-45 (1990). Likelihood of success means a “reasonable
   likelihood.” A.E.P. Indus, Inc. v. McClure, 308 NC. 393, 404, 302 S.E.2d 754, 761
   (1983).

59. The Court must also balance the equities, and a preliminary injunction “should not be
   granted where there is a serious question as to the right of the defendant to engage in the




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    activity and to forbid the defendant from doing so, pending the ﬁnal determination of the
    matter, would cause the defendant greater damage than the Shaw would sustain from the
    continuance of the activity while the litigation is pending.” Board ofProvincial Elders,
    etc. v. Jones, 273 NC. 174, 182, 159 S.E.2d 545, 551-552 (1968).

60. The issuance of a preliminary injunction is a “matter of discretion to be exercised by the
    hearing judge after a careful balancing of the equities.” State v. Fayettevz'lle St. Christian
    School, 299 NC. 351, 357, 261 S.E.2d 908, 913 (1980).

61. Here, Shaw has herein alleged that Elon University breached its contractual obligations
    in investigating and adjudicating the student conduct matter.

62. Since the disciplinary suspension for one calendar year was issued, Shaw relocated to
    Massachusetts.    Shaw is seeking admission to other colleges and universities in
    Massachusetts and the surrounding area.

63. Several of these schools have requested permission to speak to Elon University regarding
    the events surrounding the disciplinary suspension as a step in determining whether or
    not they will offer Shaw admission.

64. Shaw has, to date, not granted permission to any other school to speak with Elon
    University because its failure to fulﬁll its contractual obligations leaves Shaw warry of
    the information that it would provide.

65. Likewise, Shaw has not received an offer of admission from any other school.

66. It is unlikely that any school will offer admission without speaking to Elon University
    regarding the circumstances surrounding the disciplinary suspension.

67. Thus, if Shaw wishes to continue his education, he must grant permission for other
    schools or universities to speak with Elon University.

68. Elon University should not be permitted to disclose the details of Shaw’s disciplinary
    suspension because their investigation and adjudication of that matter was, at best, cause
    for Shaw to complain to this Court that Elon University breached its contractual
    obligations.

69. Elon University should be permitted to only conﬁrm that Shaw was a student at Elon
    University, that Shaw left in good academic standing, that he would be permitted to
    reapply at the end of the term of his disciplinary suspension, and that Shaw has an
    ongoing appeal of the suspension.

70. Shaw’s complaint evidences that there was a valid contract with Elon University, that
    Elon University breached that contract, and that Shaw suffered damages as a result.

71. Shaw suffers ongoing harm as a result of Elon University’s breach of contract by way of
    his inability to be admitted to other colleges or universities as a result of the disciplinary
    suspension.




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72. Enjoining Elon University from hindering Shaw’s education further would provide some
    relief as a result of Elon University’s breach.

                                   PRAYER FOR RELIEF

   WHEREFORE Shaw prays this Court:

1. For damages in an amount to be determined at trial to exceed $25,000;

2. That Elon University be enjoined from communications with other colleges or
   universities about the circumstances surrounding Shaw’s disciplinary suspension
   and limited to providing only that information approved by this Court;

3. For costs of this action; and

4. For such other and further relief that this Court deems just and proper.

   Respectfully submitted June 8, 2018.




                                          WWW
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                                          Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

      The undersigned hereby certiﬁes that the foregoing SUMMONS AND COMPLAINT was
duly served in accordance with the North Carolina Rules of Civil Procedure by placing a copy
thereof in the United States mail, certiﬁed, with a return receipt requested, addressed as follows:

               Elon University
               Connie Ledoux Book, Registered Agent
               100 Campus Drive
               Elon, NC 27244

       This the        day of June, 2018.




                                             4W111§1
                                             mum BETH WAL'LER
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